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                          UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



 UNITED STATES OF AMERICA,                )      CASE NO. 1:13cr345-43
                                          )
                                          )
                      Plaintiff,          )      JUDGE CHRISTOPHER A. BOYKO
                                          )
               Vs.                        )
                                          )
 LAMAR MIDDLETON,                         )      ORDER ADOPTING
                                          )      REPORT AND RECOMMENDATION
                                          )      OF MAGISTRATE JUDGE
                                          )
                     Defendant.           )


       The above Defendant, accompanied by counsel, proffered a plea of guilty

 before Magistrate Judge McHargh to Counts One and Seventy-three in the Indictment.

 The Court finds that the Defendant’s proffer of guilt was made under oath knowingly,

 intelligently and voluntarily and that all requirements imposed by the United States

 Constitution and Fed.R.Crim.P. 11 are satisfied. THEREFORE, the Court adopts the

 Report and Recommendation of Magistrate Judge McHargh, approves the plea

 agreement, accepts the Defendant’s offer of guilt and finds the Defendant guilty as

 charged in the Indictment.

       The signed Plea Agreement shall be filed as of the date of this Order.



       IT IS SO ORDERED.

                                                 s/Christopher A. Boyko
 Date 3/10/2015                                  CHRISTOPHER A. BOYKO
                                                 United States District Judge
